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                   Exhibit H
           Case 5:15-cv-06264-EGS Document 64-12 Filed 11/17/17 Page 2 of 3
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13
                               IN THE UNITED STATES DISTRICT COURT
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                        IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
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16
   UNITED STATES OF AMERICA, and the                 CASE NO. 2:09-CV-0279 WBS EJB
17 STATES OF ARKANSAS, CALIFORNIA,
   DELAWARE, DISTRICT OF COLUMBIA,                   ORDER ON UNITED STATES’ NOTICE OF
18 FLORIDA, GEORGIA, HAWAII, ILLINOIS,               INTERVENTION FOR PURPOSE OF
   INDIANA, LOUISIANA, MASSACHUSETTS,                SETTLEMENT
19 MICHIGAN, MONTANA, NEVADA, NEW
   HAMPSHIRE, NEW JERSEY, NEW MEXICO,
20 NEW YORK, OKLAHOMA, RHODE ISLAND,
   TENNESSEE, TEXAS, VIRGINIA, and
21 WISCONSIN ex rel. ADOLFO SCHROEDER,

22
                         Plaintiffs,
23
           vs.
24

25 MEDTRONIC, INC.,

26                Defendant.
27

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     [PROPOSED] ORDER ON UNITED STATES’ NOTICE   1
     OF INTERVENTION FOR PURPOSE OF SETTLEMENT
30
            Case 5:15-cv-06264-EGS Document 64-12 Filed 11/17/17 Page 3 of 3
           Case 2:09-cv-00279-WBS-EFB Document 75 Filed 05/27/14 Page 2 of 2



 1          The United States having intervened in this action, pursuant to the False Claims Act, 31 U.S.C. §

 2 3730(b)(4), the Court rules as follows:

 3          IT IS ORDERED that Relators’ Complaint, the United States' Notice of Intervention, and this

 4 Order, be unsealed;

 5          IT IS FURTHER ORDERED that all other previously-filed contents of the Court's file in this

 6 action remain under seal and not be made public, or served upon the defendants;

 7          IT IS FURTHER ORDERED that the seal shall be lifted on all matters occurring in this action

 8 after the date of this Order.

 9          IT IS SO ORDERED.

10 Dated: May 27, 2014

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     [PROPOSED] ORDER ON UNITED STATES’ NOTICE          2
     OF INTERVENTION FOR PURPOSE OF SETTLEMENT
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